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                                                                                         Thomas C. Jensen
October 22, 2021
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U.S. District Court Judge William M. Conley
Western District of Wisconsin
120 North Henry Street
Madison, WI 53703

Re:    Case Nos. 21-cv-00096-wmc & 21-cv-00306-wmc (cons.)
       National Wildlife Refuge Association, et al. v. Rural Utilities Service, et al.
       Construction Activities in Wisconsin Prior to November 1, 2021

Dear Judge Conley:

        I am writing to advise the Court that, pursuant to today’s hearing in the above-captioned
matters, Intervenor-Defendants, American Transmission Company LLC and ATC Management
Inc. (“ATC”), ITC Midwest LLC, and Dairyland Power Cooperative (“Co-owners”) will not
conduct any activities related to construction of the Cardinal-Hickory Creek Project that are
subject to the U.S. Army Corps of Engineers (“Corps”) Utility Regional General Permit
(“URGP”) verifications prior to November 1, 2021.

       The following documents, though voluminous, describe and provide substantive and
regulatory context for the Cardinal-Hickory Creek Project-related activities that have been
approved subject to the URGP verifications:

            1. Section 404 Pre-Construction Notification for the Hill Valley to Cardinal Creek
               Segment (Administrative Record at USACE004819–4878),

            2. Section 404 Pre-Construction Notification for the Mississippi River to Hill
               Valley (Administrative Record at USACE004219–4567),

            3. Memorandum for Record: Memorandum Documenting General Permit
               Verification (Administrative Record at USACE000679–685); and,

            4. Memorandum for Record: Memorandum Documenting General Permit
               Verification (Administrative Record at USACE000686–691).

        After November 1st, the Co-owners expect to carry out construction activities in Iowa
and Wisconsin that comply with all applicable law and implement the transmission development-
related responsibilities of the Co-owners under state and regional grid operation mandates. These
construction activities are fully consistent with the construction schedule that has been available
publicly since 2018, ROD015901.
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Honorable William M. Conley
October 22, 2021
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       Pursuant to the Court’s direction, Co-owners will file additional information next week
regarding damages resulting from an involuntary 30 or 60-day delay in construction.

Sincerely,




Thomas C. Jensen

Attorney for Intervenor-Defendants American Transmission Company LLC by its corporate
manager, ATC Management Inc., ITC Midwest LLC and Dairyland Power Cooperative.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2021, I electronically filed the foregoing document

with the Clerk of Court using the Court’s ECF system, which will serve the document on all

counsel of record registered for electronic filing in the above-captioned proceeding.



Dated: October 22, 2021
                                                       /s/ Thomas C. Jensen
                                                       Thomas C. Jensen
